                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          Case No.: 3:23-CV-00894-RJC-SCR

 Clean Juice Franchising, LLC,

                        Plaintiff,

 v.

 Charleston Juicing, LLC,
 Charleston Juicing Calhoun, LLC,
 Charleston Juicing West Ashley, LLC,                                  ORDER
 Charleston Juicing Mt. Pleasant, LLC,
 Roy O. Crain, CJ Collegeville, LLC, CJ
 Malvern, LLC, CJ Wynnewood, LLC, Vogt
 Goodyear Enterprises, LLC, Debra K.
 Manchester, Morgan K. Manchester, &
 Richard Kline,

                        Defendants.
       THIS MATTER IS BEFORE THE COURT on the parties’ “Joint Motion to Stay

Pending Arbitration” (Doc. No. 76) filed on July 3, 2024. Having carefully considered the motion

and the record and for good cause shown, the undersigned will grant the motion.

       IT IS THEREFORE ORDERED that the “Joint Motion to Stay Pending Arbitration” is

GRANTED. The parties are ORDERED to submit their dispute to binding arbitration in

accordance with their agreement. This matter is hereby STAYED pending completion of the

parties’ final arbitration or other settlement of this dispute. The parties shall file status reports

every 90 days following this Order. Pursuant to the Parties’ agreement, Defendants’ Motion to

Dismiss (Doc. No. 40) is hereby ADMINISTRATIVELY DENIED AS MOOT WITHOUT

PREJUDICE.
                                             Signed: July 3, 2024
       SO ORDERED.




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